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  8
  9                       UNITED STATES DISTRICT COURT
 10                      CENTRAL DISTRICT OF CALIFORNIA
 11 THERABODY, INC., a Delaware               Case No.: 2:21-cv-09079
    corporation,
 12                                           COMPLAINT FOR:
                 Plaintiff,
 13                                           1.) FEDERAL TRADE MARK
           v.                                 INFRINGEMENT, 15 U.S.C. § 1114;
 14
    LEGEND GROUP INC., a New York             2.) FEDERAL FALSE
 15 corporation; and DOES 1 through 10,       DESIGNATION OF ORIGIN, 15
    inclusive,                                U.S.C. § 1125(a);
 16
                 Defendants.                  3.) FEDERAL UNFAIR
 17                                           COMPETITION, 15 U.S.C.
                                              § 1125(a);
 18
                                              4.) COMMON LAW TRADE DRESS
 19                                           INFRINGEMENT;
 20                                           5.) INFRINGEMENT OF U.S.
                                              PATENT NOS. 10,702,448,
 21                                           10,857,064, 11,160,722, D880,714,
                                              D880,715, D885,601, D887,573,
 22                                           D880,716, D896,396, D879,985,
                                              D879,986, D884,915; AND
 23
                                              6.) UNFAIR BUSINESS
 24                                           PRACTICES, CAL. BUS. & PROF.
                                              CODE § 17200 ET SEQ.
 25
                                              DEMAND FOR JURY TRIAL
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  1                Plaintiff Therabody, Inc. (“Therabody”) files this complaint against defendants
  2 Legend Group Inc., (“Legend”) and Does 1-10, inclusive (collectively “Defendants”).
  3                1.    The Defendants have been and are now infringing Therabody’s rights in
  4 its trademarks, its unique trade dress, and numerous of its patents by manufacturing,
  5 using, selling, offering for sale, or importing various percussive massage device
  6 knock-offs, therefor, and in connection with the foregoing, using Therabody’s
  7 federally registered trademarks and/or its unique and protectable trade dress.
  8                                           THE PARTIES
  9                2.    Therabody is, and at all times relevant hereto was, a corporation duly
 10 organized and existing under the laws of the state of Delaware, with its principal place
 11 of business at 9420 Wilshire Blvd., Fourth Floor, Beverly Hills, California 90212.
 12                3.    Therabody is informed and believes and, based thereon, alleges that
 13 defendant Legend Group Inc. is a New York corporation with offices at 6315 Chalet
 14 Drive, Commerce, CA 90040 and 16804 Gridley Place, Cerritos, CA 90703.
 15                4.    Therabody is ignorant of the true names and capacities of Defendants
 16 sued herein as Does 1 through 10, inclusive, and therefore sues these Defendants by
 17 such fictitious names and capacities. Therabody will amend this Complaint to allege
 18 their true names and capacities when ascertained, along with the appropriate charging
 19 allegations.
 20                5.    Therabody is informed and believes and thereon alleges that Defendants
 21 are manufacturing, using, selling, or offering for sale within the United States, or
 22 importing into the United States the infringing percussive massage device described
 23 below.
 24                6.    Therabody is informed and believes and thereon alleges that each of the
 25 Defendants conspired and acted in concert with one or more other Defendants to
 26 commit the wrongs against Therabody alleged herein, and in doing so were at all
 27 relevant times the agents, servants, employees, principals, joint venturers, alter egos,
 28 and/or partners of each other. Therabody is further informed and believes and on that

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  1 basis alleges that, in doing the things alleged in this Complaint, each of the Defendants
  2 was acting within the scope of authority conferred upon that Defendant by the
  3 consent, approval, and/or ratification of one or more of the other Defendants.
  4                                  JURISDICTION AND VENUE
  5                7.   This is an action for (a) trademark and trade dress infringement under
  6 Section 43 of the Lanham Act, 15 U.S.C. §§ 1114, 1125; (b) trademark and trade dress
  7 infringement under the laws of the state of California; (c) patent infringement under
  8 the patent laws of the United States, 35 U.S.C. § 271; and (d) unfair competition
  9 pursuant to California Business and Professions Code Section 17200, et seq.
 10                8.   This Court has subject matter jurisdiction over the trade dress and patent
 11 claims in this action pursuant to 28 U.S.C. §1338(a) and 15 U.S.C. §1121. This Court
 12 has supplemental jurisdiction over the remaining state law claims under 28 U.S.C.
 13 §1367 because the claims are so related to Therabody’s claims under federal law that
 14 they derive from a common nucleus of operative fact and form part of the same case
 15 or controversy.
 16                9.   This Court has personal jurisdiction over Defendants and venue is proper
 17 in this District pursuant to 28 U.S.C. § 1391(b) and § 1400(b). Therabody is informed
 18 and believes and, based thereon, alleges that, defendant Legend has offices in this
 19 District, including at 6315 Chalet Drive, Commerce, CA 90040 and 16804 Gridley
 20 Place, Cerritos, CA 90703, and that Defendants have committed acts of infringement
 21 in this District, including the distribution, promoting, marketing, selling, offering for
 22 sale, importing, and/or advertising their infringing products in or to this District and/or
 23 to businesses and individuals in this District. Therabody is further informed and
 24 believes and, based thereon, alleges that Defendants derive substantial revenue from
 25 the distribution, promotion, marketing, sale, offer for sale, or import of infringing
 26 products in or to this District. Finally, Defendants infringing acts are causing harm to
 27 Therabody, a resident of this District.
 28

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  1                                    GENERAL ALLEGATIONS
  2                              Therabody’s Trade Dress and Trademarks
  3                10.   Therabody is in the business of developing, manufacturing and selling
  4 high-quality, innovative percussive therapy devices. Therabody invests considerable
  5 time, effort, and money in developing and protecting its intellectual property,
  6 including the trade dress of its products.
  7                11.   Since at least as early as January 2019, Therabody has used a distinctive
  8 triangle product design trade dress, examples of which are shown below (the
  9 “Triangle Trade Dress”).
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 19                12.   The Triangle Trade Dress, shown in the above images, features: (1) a
 20 percussive massage device generally in the shape of a right triangle, comprising one
 21 shorter leg, one longer leg, and one hypotenuse; (2) a thick longer leg, a shorter leg
 22 of relative less thickness, and a hypotenuse that is relatively thinner than both legs;
 23 (3) a circular design or “head” at the corner where the hypotenuse and the longer leg
 24 meet; and (4) an arm to which massage head attachments are attached extending from
 25 the circular head.
 26                13.   Therabody introduced the Triangle Trade Dress with its third-generation
 27 percussive massage device, which were introduced at least as early as January 2019.
 28 Therabody’s line of third-generation percussive massage device included three the

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  1 percussive massage devices available at three price points. All three of Therabody’s
  2 third-generation percussive massage devices featured the Triangle Trade Dress. The
  3 third-generation percussive massage devices at the two highest price points featured
  4 the Triangle Trade Dress, plus an additional design element, namely, a key-shaped
  5 design element formed by combination of the circular head and the longer leg itself
  6 (highlighted in the images below). The combination of the Triangle Trade Dress and
  7 the key-shaped design element is referred to herein as the Key Trade Dress.
  8                14.   The most advanced, most refined, and most expensive of the three third-
  9
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 12
 13 generation percussive massage devices was called the THERAGUN G3PRO. The
 14 trade dress for the THERAGUN G3PRO included the Key Trade Dress, plus the
 15 following additional elements: (1) the circular head is a distinctive, metallic blue
 16 color; (2) on one side of the percussive massage device, the circular head is solid blue;
 17 (3) the THERAGUN mark is displayed at the opposite end of the longer leg from the
 18 circular head; and (4) the outer surfaces of the legs and hypotenuse feature a cross
 19 hatch texture (all as shown in the images below). The combination of the Key Trade
 20 Dress and the foregoing elements is referred to herein as the PRO Trade Dress.
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  1                15.   Therabody’s line of fourth-generation percussive massage device were
  2 introduced at least as earl as May 2020. The line includes three percussive massage
  3 device bearing the Triangle Trade Dress, each at different price points. The fourth-
  4 generation percussive massage devices at the two highest price points, the
  5 THERAGUN PRO and the THERAGUN ELITE, also feature the Key Trade Dress.
  6 The THERAGUN PRO is most advanced, most refined, and most expensive of the
  7 three products. Like the THERAGUN G3PRO, the THERAGUN PRO also bears the
  8 PRO Trade Dress.
  9                16.   Therabody has developed trade dress rights in the Triangle Trade Dress.
 10 The Triangle Trade Dress is not functional: it does not provide a utilitarian advantage,
 11 a plethora of alternative product shapes and designs are available for use, and their
 12 use is not the result of a simple or inexpensive method of manufacture. Therabody
 13 selected the elements of the Triangle Trade Dress for the purpose of identifying its
 14 products and distinguishing them from the products of third parties.
 15                17.   The Triangle Trade Dress is either inherently distinctive or, through
 16 Therabody’s continuous use and promotion, has acquired distinctiveness, and the
 17 Triangle Trade Dress is uniquely associated with Therabody and its percussive
 18 massage device. Therabody has used the Triangle Trade Dress since it introduced its
 19 third-generation percussive massage devices at least as early as January 2019.
 20                18.   Therabody has developed trade dress rights in the Key Trade Dress. The
 21 Key Trade Dress is not functional: it does not provide a utilitarian advantage, a
 22 plethora of alternative product shapes and designs are available for use, and their use
 23 is not the result of a simple or inexpensive method of manufacture. Therabody
 24 selected the elements of the Key Trade Dress for the purpose of identifying its
 25 products and distinguishing them from the products of third parties.
 26                19.   The Key Trade Dress is either inherently distinctive or, through
 27 Therabody’s continuous use and promotion, has acquired distinctiveness, and the Key
 28 Trade Dress is uniquely associated with Therabody and its percussive massage device.

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  1 Therabody has used the Key Trade Dress since it introduced its third-generation
  2 percussive massage devices at least as early as January 2019.
  3                20.   Therabody has developed trade dress rights in the PRO Trade Dress. The
  4 PRO Trade Dress is not functional: it does not provide a utilitarian advantage, a
  5 plethora of alternative product colors, shapes, and designs are available for use, and
  6 their use is not the result of a simple or inexpensive method of manufacture.
  7 Therabody selected the elements of the PRO Trade Dress for the purpose of
  8 identifying its products and distinguishing them from the products of third parties.
  9                21.   The PRO Trade Dress is either inherently distinctive or, through
 10 Therabody’s continuous use and promotion, has acquired distinctiveness, and the
 11 PRO Trade Dress is uniquely associated with Therabody and its percussive massage
 12 device. Therabody has used the PRO Trade Dress since it introduced its third-
 13 generation percussive massage devices at least as early as January 2019.
 14                22.   Therabody has sold millions of dollars of products bearing its distinctive
 15 Triangle Trade Dress, Key Trade Dress, and PRO Trade Dress. It has spent millions
 16 of dollars to promote its products bearing its Triangle Trade Dress, Key Trade Dress,
 17 and PRO Trade Dress. Therabody products bearing the Triangle Trade Dress, Key
 18 Trade Dress, and PRO Trade Dress are used by numerous celebrities and professional
 19 athletes and have been the subject of extensive press and advertising. As a result of
 20 Therabody’s extensive advertising and promotion and the widespread, and high
 21 profile, use of Therabody’s Triangle Trade Dress, Key Trade Dress, and PRO Trade
 22 Dress, including as described above, Therabody’s Triangle Trade Dress, Key Trade
 23 Dress, and PRO Trade Dress are associated by the public exclusively with Therabody
 24 and its products and are used by the public as indicators of the origin and quality of
 25 Therabody’s percussive massage device.
 26                23.   Additionally, Defendants’ have copied Therabody’s Triangle Trade
 27 Dress, Key Trade Dress, and PRO Trade Dress, as have numerous third parties. Such
 28

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  1 copying is further evidence that Therabody’s Triangle Trade Dress, Key Trade Dress,
  2 and PRO Trade Dress have secondary meaning.
  3                24.   Therabody owns the trademarks THERAGUN G3PRO, THERAGUN
  4 PRO, and THERAGUN ELITE, which trademarks are the subject of U.S. Reg. Nos.
  5 6043891, 6,126,362 and 6,126,363, all for, inter alia, massage apparatus.
  6                25.   Therabody is a pioneer in the percussive massage therapy device market
  7 and, by delivering premier-quality products using its Triangle Trade Dress, Key Trade
  8 Dress, and PRO Trade Dress and THERAGUN G3PRO, THERAGUN PRO, and
  9 THERAGUN ELITE marks, Plaintiff has established a reputation for providing
 10 outstanding massage therapy products and customer service associated with that trade
 11 dress and those trademarks. Consumers have come to recognize that trade dress and
 12 those trademarks as indicators of excellence and as uniquely identifying Therabody
 13 as the source of the products and services associated in connection with which they
 14 are used.
 15                                        Therabody’s Patents
 16                26.   On July 7, 2020, the United States Patent and Trademark Office issued
 17 United States Patent Number 10,702,448, entitled “Percussive Massage Device and
 18 Method of Use” (hereinafter the “ ‘448 Patent”). A true and correct copy of the ‘448
 19 Patent is attached hereto as Exhibit 1.
 20                27.   Therabody is the owner of the ‘448 Patent. The ‘448 Patent is presumed
 21 to be valid and is prima facie proof that the inventions claimed in ‘448 Patent are
 22 novel and non-obvious.
 23                28.   The ‘448 Patent pertains to a percussive massage device and method of
 24 using a percussive massage device.
 25                29.   On December 8, 2020, the United States Patent and Trademark Office
 26 issued United States Patent Number 10,857,064, entitled “Percussive Therapy
 27 Device” (hereinafter the “ ‘064 Patent”). A true and correct copy of the ‘064 Patent is
 28 attached hereto as Exhibit 2.

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  1                30.   Therabody is the owner of the ‘064 Patent. The ‘064 Patent is presumed
  2 to be valid and is prima facie proof that the inventions claimed in the ‘064 Patent are
  3 novel and non-obvious.
  4                31.   The ‘064 Patent pertains to a percussive massage device and method of
  5 using a percussive massage device.
  6                32.   On November 2, 2021, the United States Patent and Trademark Office
  7 issued United States Patent Number 11,160,722, entitled “Percussive Massage Device
  8 and Method of Use” (hereinafter the “ ‘722 Patent”). A true and correct copy of the
  9 ‘722 Patent is attached hereto as Exhibit 3.
 10                33.   Therabody is the owner of the ‘722 Patent. The ‘722 Patent is presumed
 11 to be valid and is prima facie proof that the inventions claimed in the ‘722 Patent are
 12 novel and non-obvious.
 13                34.   The ‘722 Patent pertains to a percussive massage device and method of
 14 using a percussive massage device.
 15                35.   On April 7, 2020, the United States Patent and Trademark Office issued
 16 United States Patent Number D880,714, entitled “Percussive Massage Device”
 17 (hereinafter the “ ‘D714 Patent”). A true and correct copy of the ‘D714 Patent is
 18 attached hereto as Exhibit 4.
 19                36.   Therabody is the owner of the ‘D714 Patent. The ‘D714 Patent is
 20 presumed to be valid and is prima facie proof that the design shown in the ‘D714
 21 Patent is novel and non-obvious.
 22                37.   The ‘D714 Patent pertains to a particular ornamental design for a
 23 therapeutic percussive massage device.
 24                38.   On April 7, 2020, the United States Patent and Trademark Office issued
 25 United States Patent Number D880,715, entitled “Percussive Massage Device”
 26 (hereinafter the “ ‘D715 Patent”). A true and correct copy of the ‘D715 Patent is
 27 attached hereto as Exhibit 5.
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   1                39.   Therabody is the owner of the ‘D715 Patent. The ‘D715 Patent is
   2 presumed to be valid and is prima facie proof that the design shown in the ‘D715
   3 Patent is novel and non-obvious.
   4                40.   The ‘D715 Patent pertains to a particular ornamental design for a
   5 therapeutic percussive massage device.
   6                41.   On May 26, 2020, the United States Patent and Trademark Office issued
   7 United States Patent Number D885,601, entitled “Percussive Massage Device”
   8 (hereinafter the “ ‘D601 Patent”). A true and correct copy of the ‘D601 Patent is
   9 attached hereto as Exhibit 6.
  10                42.   Therabody is the owner of the ‘D601 Patent. The ‘D601 Patent is
  11 presumed to be valid and is prima facie proof that the design shown in the ‘D601
  12 Patent is novel and non-obvious.
  13                43.   The ‘D601 Patent pertains to a particular ornamental design for a
  14 therapeutic percussive massage device.
  15                44.   On June 16, 2020, the United States Patent and Trademark Office issued
  16 United States Patent Number D887,573, entitled “Percussive Massage Device”
  17 (hereinafter the “ ‘D573 Patent”). A true and correct copy of the ‘D573 Patent is
  18 attached hereto as Exhibit 7.
  19                45.   Therabody is the owner of the ‘D573 Patent. The ‘D573 Patent is
  20 presumed to be valid and is prima facie proof that the design shown in the ‘D573
  21 Patent is novel and non-obvious.
  22                46.   The ‘D573 Patent pertains to a particular ornamental design for a
  23 therapeutic percussive massage device.
  24                47.   On April 7, 2020, the United States Patent and Trademark Office issued
  25 United States Patent Number D880,716, entitled “Percussive Massage Device”
  26 (hereinafter the “ ‘D716 Patent”). A true and correct copy of the ‘D716 Patent is
  27 attached hereto as Exhibit 8.
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   1                48.   Therabody is the owner of the ‘D716 Patent. The ‘D716 Patent is
   2 presumed to be valid and is prima facie proof that the design shown in the ‘D716
   3 Patent is novel and non-obvious.
   4                49.   The ‘D716 Patent pertains to a particular ornamental design for a
   5 therapeutic percussive massage device.
   6                50.   On September 15, 2020, the United States Patent and Trademark Office
   7 issued United States Patent Number D896,396, entitled “Percussive Massage Device”
   8 (hereinafter the “ ‘D396 Patent”). A true and correct copy of the ‘D396 Patent is
   9 attached hereto as Exhibit 9.
  10                51.   Therabody is the owner of the ‘D396 Patent. The ‘D396 Patent is
  11 presumed to be valid and is prima facie proof that the design shown in the ‘D396
  12 Patent is novel and non-obvious.
  13                52.   The ‘D396 Patent pertains to a particular ornamental design for a
  14 therapeutic percussive massage device.
  15                53.   On March 31, 2020, the United States Patent and Trademark Office
  16 issued United States Patent Number D879,985, entitled “Percussive Massage Device”
  17 (hereinafter the “ ‘D985 Patent”). A true and correct copy of the ‘D985 Patent is
  18 attached hereto as Exhibit 10.
  19                54.   Therabody is the owner of the ‘D985 Patent. The ‘D985 Patent is
  20 presumed to be valid and is prima facie proof that the design shown in the ‘D985
  21 Patent is novel and non-obvious.
  22                55.   The ‘D985 Patent pertains to a particular ornamental design for a
  23 therapeutic percussive massage device.
  24                56.   On March 31, 2020, the United States Patent and Trademark Office
  25 issued United States Patent Number D879,986, entitled “Percussive Massage Device”
  26 (hereinafter the “ ‘D986 Patent”). A true and correct copy of the ‘D986 Patent is
  27 attached hereto as Exhibit 11.
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   1                57.   Therabody is the owner of the ‘D986 Patent. The ‘D986 Patent is
   2 presumed to be valid and is prima facie proof that the design shown in the ‘D986
   3 Patent is novel and non-obvious.
   4                58.   The ‘D986 Patent pertains to a particular ornamental design for a
   5 therapeutic percussive massage device.
   6                59.   On May 19, 2020, the United States Patent and Trademark Office issued
   7 United States Patent Number D884,915, entitled “Percussive Massage Device”
   8 (hereinafter the “ ‘D915 Patent”). A true and correct copy of the ‘D915 Patent is
   9 attached hereto as Exhibit 12.
  10                60.   Therabody is the owner of the ‘D915 Patent. The ‘D915 Patent is
  11 presumed to be valid and is prima facie proof that the design shown in the ‘D915
  12 Patent is novel and non-obvious.
  13                61.   The ‘D915 Patent pertains to a particular ornamental design for a
  14 therapeutic percussive massage device.
  15                62.   Therabody’s patented and patent-pending devices are innovative and
  16 have received industry praise and recognition, including the 2019 A’ Design Award
  17 in Digital and Electronic Devices Design for its Therabody G3PRO design.
  18                                  Defendant’s Infringing Conduct
  19                63.   Therabody is informed and believes and based thereon alleges that
  20 Defendant recently began competing with Therabody in the percussive massage
  21 device industry by manufacturing and selling percussive massage devices infringing
  22 Therabody’s trade dress, trademarks and patents. Specifically, Defendant
  23 manufactures and sells: 1) TRAKK PRO percussive massage device (the “First
  24 Infringing Device”) and TRAKK ELITE percussive massage device (the “Second
  25 Infringing Device”) (collectively, the “Infringing Products”).
  26                64.   On or about August 11, 2021, Therabody first became aware of
  27 Defendant’s First Infringing Device (shown below) through Defendant’s Amazon
  28 retail page. On August 11, 2021, Therabody sent a cease-and-desist letter demanding

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   1 that Defendants immediately end their use of infringing trade dress and all
   2 manufacture, offer for sale, sale, use and importation of the Infringing Products. Since
   3 then, Therabody has seen these same infringing products being promoted in a number
   4 of locations, including on Walmart, Staples and Office Depot websites as well as
   5 Defendant’s website at https://www.shoptrakk.com/.
   6                65.   On or about September 23, 2021, Therabody first became aware of
   7 Defendant’s Second Infringing Device (shown below) through Defendant’s website
   8 at https://www.shoptrakk.com/ as well as multiple major e-commerce platforms such
   9 as Amazon and Newegg, and major retailers such as Office Depo, Walmart, Radio
  10 Shack. On September 23, 2021, Therabody sent a cease-and-desist letter demanding
  11 that Defendants immediately end their use of infringing trade dress and all
  12 manufacture, offer for sale, sale, use and importation of the Infringing Products.
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  24                66.   It is clear from their product design and product name selection that
  25 Defendants are deliberately imitating Plaintiff. Defendants product design is virtually
  26 identical to the Triangle Trade Dress, Key Trade Dress, and the PRO Trade Dress.
  27 Defendants have adopted both PRO and ELITE as names for its percussive massage
  28 device.

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   1                67.   As described herein, the Infringing Products infringe numerous
   2 Therabody patents. Additionally, the First Infringing Device incorporates each
   3 element of the Triangle Trade Dress, Key Trade Dress, and the PRO Trade Dress. The
   4 First Infringing Device uses the name TRAKK PRO.
   5                68.   Defendants’ conduct is likely to cause confusion or mistake, or to
   6 deceive members of the public into believing that Defendants or their percussive
   7 massage device are approved, sponsored, endorsed, or licensed by, or affiliated,
   8 associated, or otherwise connected with Therabody, which is not the case. Such
   9 confusion, mistake, or deception will inevitably continue after the sale of the products,
  10 as consumers continue to encounter Defendants’ infringing products at gyms, in
  11 therapists or doctors’ offices, or in other post-sale contexts, and as a result of such
  12 post-sale confusion the harm to Therabody’s reputation will continue and be
  13 amplified.
  14                69.   Notwithstanding Therabody’s demand that Defendants cease their
  15 infringing conduct and in conscious disregard of Therabody’s intellectual property
  16 rights as set forth herein, Defendants have continued to use the Infringing Products,
  17 Trade Dress and Trademarks in conjunction with their percussive massage devices
  18 and in direct competition with Therabody.
  19                                  FIRST CAUSE OF ACTION
  20                        Federal Trademark Infringement, 15 U.S.C. § 1114
  21                                     (Against All Defendants)
  22                70.   Therabody realleges and incorporates by reference all foregoing
  23 paragraphs as if fully set forth herein.
  24                71.   Therabody owns the trademarks THERAGUN G3PRO, THERAGUN
  25 PRO, and THERAGUN ELITE (collectively, the “Trademarks”), which are the
  26 subject of U.S. Reg. Nos. 6043891, 6,126,362 and 6,126,363, all for, inter alia,
  27 massage apparatus.
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   1                72.   Defendants, without Therabody’s permission or consent, have used and
   2 are continuing to use, marks that are confusingly similar to the Trademarks, namely,
   3 TRAKK PRO and TRAKK ELITE, in connection with the advertising, promotion,
   4 sale, and offer for sale of percussive massage devices, including products that bear
   5 trade dress that is virtually identical to Therabody’s Triangle Trade Dress, Key Trade
   6 Dress, and PRO Trade Dress and are virtual copies of Therabody’s patented products.
   7                73.   Defendants’ use of TRAKK PRO and TRAKK ELITE marks on
   8 percussive massage devices is likely to deceive or to cause confusion, or reverse
   9 confusion, or to cause mistake among consumers as to source, origin, sponsorship,
  10 affiliation, approval, and/or association. Consumer confusion is exacerbated by
  11 (1) Defendants’ adoption of not one but two infringing marks – just as Plaintiff’s
  12 product line includes products designated as THERAGUN PRO and THERAGUN
  13 ELITE, Defendants competing product line includes products designated as TRAKK
  14 PRO and TRAKK ELITE; and (2) Defendants’ use of its marks on products that bear
  15 trade dress that is virtually identical to Therabody’s Triangle Trade Dress, Key Trade
  16 Dress, and PRO Trade Dress and are virtual copies of Therabody’s patented products.
  17                74.   Defendants’ conduct described herein was knowing, willful, intentional,
  18 deliberate, and in total disregard of Therabody’s rights. The knowing and intentional
  19 nature of the acts set forth herein renders this an exceptional case under 15 U.S.C. §
  20 1117(a).
  21                75.   As a direct and proximate cause of Defendants’ unlawful, intentional and
  22 willful conduct, Therabody has been and will continue to be irreparably harmed unless
  23 Defendants are temporarily, preliminarily, and permanently enjoined from such
  24 unlawful conduct.
  25                76.   Therabody has no adequate remedy at law. Unless enjoined, Defendants
  26 will continue their unlawful, intentional, and willful conduct.
  27                77.   In light of the foregoing, Therabody is entitled to a permanent injunction
  28 prohibiting Defendants from using TRAKK PRO and TRAKK ELITE, and any name,

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   1 service mark, or logo confusingly similar to the federally registered Trademarks,
   2 including PRO and ELITE, and to recover from Defendants all damages that
   3 Therabody has sustained and will sustain, and all gains, profits, and advantages
   4 obtained by Defendants as a result of the infringing acts alleged above, in an amount
   5 not yet known, as well as the costs of this action pursuant to 15 U.S.C. § 1117(a).
   6                78.   Given Defendants’ willful acts, this is an exceptional case and, pursuant
   7 to 15 U.S.C. § 1117(a), Therabody is further entitled to three times the amount of the
   8 above profits or damages, whichever is greater, and their attorneys’ fees.
   9                                  SECOND CAUSE OF ACTION
  10                          False Designation of Origin, 15 U.S.C. § 1125(a)
  11                                       (Against All Defendants)
  12                79.   Therabody realleges and incorporates by reference all foregoing
  13 paragraphs as if fully set forth herein.
  14                80.   Therabody uses its Triangle Trade Dress, Key Trade Dress, and PRO
  15 Trade Dress (collectively, the “Therabody Trade Dress”) in commerce on and in
  16 connection with its percussive massage device, accessories therefor, and the
  17 advertising and promotion of the same. The Therabody Trade Dress, described above,
  18 is comprised of distinctive features which are protected under Lanham Act § 43(a).
  19 The Therabody Trade Dress is either inherently distinctive or, as a result of its use,
  20 has acquired secondary meaning whereby the relevant consuming public and the trade
  21 associate these features with a single source.
  22                81.   As described above and shown below, Defendants have used in
  23 commerce trade dress that is confusingly similar to the unique and protectable
  24 Therabody Trade Dress (hereinafter the “Infringing Trade Dress”), on and in
  25 connection with their sale of percussive massage device and accessories therefor. The
  26 Infringing Trade Dress includes each element of the Triangle Trade Dress, each
  27 element of the Key Trade Dress, and each element of the PRO Trade Dress. As
  28 described above, the potential for confusion is amplified by the use of the Infringing

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   1 Trade Dress in connection with products that, in whole or in part, are copies or knock-
   2 offs of Therabody’s own products, as well as by Defendants’ adoption of the product
   3 names TRAKK PRO and TRAKK ELITE, which are virtually the same Therabody’s
   4 own product names THERAGUN G3PRO, THERAGUN PRO, and THERAGUN
   5 ELITE.
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  14                82.   Defendants’ conduct alleged herein constitutes a false designation of
  15 origin and/or a false or misleading description and/or representation of fact, which is
  16 likely to deceive or to cause confusion or reverse confusion or mistake among
  17 consumers as to the origin, sponsorship, or approval of the Defendants’ goods and
  18 services and/or deceive or to cause confusion or mistake among consumers as to the
  19 affiliation, connection, or association between Defendants and Therabody.
  20                83.   Defendants’ conduct described herein was knowing, willful, intentional,
  21 deliberate, and in total disregard of Therabody’s rights. The knowing and intentional
  22 nature of the acts set forth herein renders this an exceptional case under 15 U.S.C. §
  23 1117(a).
  24                84.   As a direct and proximate cause of Defendants’ unlawful, intentional,
  25 and willful conduct, Therabody has been and will continue to be irreparably harmed
  26 unless Defendants are permanently enjoined from such unlawful conduct. Therabody
  27 has no adequate remedy at law. Unless enjoined, Defendants will continue to mislead
  28 and confuse consumers as to the origin, sponsorship, or approval of Defendants’

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   1 goods and services and/or deceive or cause confusion or mistake among consumers
   2 as to the affiliation, connection, or association between Defendants and Therabody.
   3                85.   In light of the foregoing, Therabody is entitled to a permanent injunction
   4 prohibiting Defendants from using the Infringing Trade Dress, and any marks or trade
   5 dress confusingly similar to any of the Therabody Trade Dress, and to recover from
   6 Defendants all damages that Therabody has sustained and will sustain, and all gains,
   7 profits, and advantages obtained by Defendants as a result of their infringing acts
   8 alleged above, in an amount not yet known, and the costs of this action pursuant to 15
   9 U.S.C. § 1117(a).
  10                86.   Pursuant to 15 U.S.C. § 1118, Plaintiff is entitled to, and hereby seeks,
  11 an order for the destruction of all materials bearing the Infringing Trade Dress, or any
  12 other trade dress confusingly similar to any of the Therabody Trade Dress.
  13                87.   Given Defendants’ willful acts, this is an exceptional case and, pursuant
  14 to 15 U.S.C. § 1117(a), Therabody is further entitled to three times the amount of the
  15 above profits or damages, whichever is greater, and their attorneys’ fees.
  16                                   THIRD CAUSE OF ACTION
  17                         Federal Unfair Competition, 15 U.S.C. § 1125(a)
  18                                       (Against All Defendants)
  19                88.   Therabody realleges and incorporates by reference all foregoing
  20 paragraphs as if fully set forth herein.
  21                89.   Defendants have deliberately and willfully attempted to capitalize on
  22 Therabody’s goodwill and reputation established in connection with the Trademarks
  23 and the Therabody Trade Dress by misleading, confusing, or deceiving consumers as
  24 to source, source, origin, affiliation, approval, sponsorship, and/or association,
  25 including by using TRAKK PRO and TRAKK ELITE and including by copying and
  26 using each element of the Triangle Trade Dress, each element of the Key Trade Dress,
  27 and each element of the PRO Trade Dress.
  28

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   1                90.   Defendants have engaged in, and continue to engage in, their unlawful,
   2 intentional, and willful conduct without Therabody’s permission or consent.
   3                91.   As a direct and proximate cause of Defendants unlawful, intentional, and
   4 willful conduct, Therabody has been and will continue to be irreparably harmed unless
   5 Defendants are permanently enjoined from such unlawful conduct. Therabody has no
   6 adequate remedy at law. Unless enjoined, Defendants will continue their unlawful,
   7 intentional, and willful conduct.
   8                92.   In light of the foregoing, Therabody is entitled to a permanent injunction
   9 prohibiting Defendants from using TRAKK PRO and TRAKK ELITE, the Infringing
  10 Trade Dress, and any marks or trade dress confusingly similar to any of Therabody’s
  11 Trademarks or any of the Therabody Trade Dress, including PRO and ELITE, and to
  12 recover from Defendants all damages that Therabody has sustained and will sustain,
  13 and all gains, profits, and advantages obtained by Defendants as a result of their
  14 infringing acts alleged above in an amount not yet known, and the costs of this action
  15 pursuant to 15 U.S.C. § 1117(a).
  16                93.   Pursuant to 15 U.S.C. § 1118, Therabody is entitled to, and hereby seeks,
  17 an order for the destruction of all materials bearing any of the Trademarks, the
  18 Infringing Trade Dress, or any other trade dress confusingly similar to any of the
  19 Therabody Trade Dress.
  20                94.   Given Defendants’ willful acts, this is an exceptional case and, pursuant
  21 to 15 U.S.C. § 1117(a), Therabody is further entitled to three times the amount of the
  22 above profits or damages, whichever is greater, and their attorneys’ fees.
  23                                  FOURTH CAUSE OF ACTION
  24                      Common Law Trademark and Trade Dress Infringement
  25                                       (Against All Defendants)
  26                95.   Therabody realleges and incorporates by reference all foregoing
  27 paragraphs as if fully set forth herein.
  28

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   1                96.   Defendants’ acts, described herein, constitute common law trade dress
   2 and trademark infringement and unfair competition under state law.
   3                97.   Therabody has been damaged and will continue to be damaged by
   4 Defendants’ infringing activities.
   5                98.   Therabody has no adequate remedy at law and is entitled to an injunction
   6 prohibiting Defendants from continuing the infringing practices described herein, and
   7 a recall order directed to the infringing items in the marketplace.
   8                99.   Therabody is also entitled to an award of any profits and damages arising
   9 from Defendants’ wrongful use of any of Therabody’s Trademarks and/or any of the
  10 Therabody Trade Dress.
  11                100. Therabody is informed and believes, on that basis alleges, that
  12 Defendants conduct was willful, wanton, malicious, and in conscious disregard of
  13 Therabody’s rights, thereby justifying an award of punitive and/or exemplary
  14 damages in an amount according to proof at trial.
  15                                    FIFTH CAUSE OF ACTION
  16                  Patent Infringement of the ’448 Patent, 35 U.S.C. §§ 101 et seq.
  17
                                           (Against All Defendants)
  18
                    101. Therabody realleges and incorporates by reference all foregoing
  19
       paragraphs as if fully set forth herein.
  20
                    102. At all times herein mentioned the ‘448 Patent was and is valid and fully
  21
       enforceable.
  22
                    103. Defendants are offering percussive massage devices that infringe at least
  23
       claim 8 of the ‘448 Patent, including at least the Infringing Product.
  24
                    104. Defendants’ Infringing Product is a percussive massage device.
  25
                    105. As shown below, Defendants’ Infringing Product includes a housing,
  26
       wherein the housing includes first, second and third handle portions that cooperate to
  27
       define a handle opening.
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  11                106. As shown above, Defendants’ Infringing Product includes a first handle
  12 portion that defines a first axis, a second handle portion defines a second axis and a
  13 third handle portion defines a third axis, and wherein the first, second and third axes
  14 cooperate to form a triangle.
  15       107. As shown above, the Infringing Product includes that the first handle
  16 portion is generally straight, the second handle portion is generally straight, and that
  17 the third handle portion is generally straight, such that a user can grasp any of the first,
  18 second or third handle portions independently to use the percussive massage device.
  19                108. The Infringing Product includes an electrical source, a motor positioned
  20 in the housing, a switch for activating the motor, and a push rod assembly operatively
  21 connected to the motor and configured to reciprocate in response to activation of the
  22 motor.
  23       109. The Infringing Product includes switch electronics associated with the
  24 switch, the electrical source is a battery that is housed in the second handle portion,
  25 and the switch electronics are housed in the first handle portion.
  26         110. On information and belief, at least since Plaintiff’s August 11, 2021
  27 letter, Defendants have knowingly and actively induced the infringement of one or
  28 more of the ’448 Patent claims by, inter alia, marketing, promoting, and offering for

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   1 use the Infringing Product, knowingly and intending that the use of the Infringing
   2 Product by Defendants’ customers and by users infringes the ’448 Patent. For
   3 example, Defendants intend to induce such infringement by, among other things,
   4 promoting users to purchase and use the Infringing Product knowing that its purchase
   5 and use infringes one or more claims of the ’448 Patent.
   6                111. On information and belief, at least since Plaintiff’s August 11, 2021
   7 letter, Defendants have contributed to the infringement of the ’448 Patent by their
   8 customers and users of the Infringing Product by, inter alia, making, offering to sell,
   9 selling and/or importing into the United States, a component of a patented machine,
  10 manufacture or combination, or an apparatus for use in practicing a patented process,
  11 constituting a material part of the invention, knowing the same to be especially made
  12 or especially adapted for use in infringing the ’448 Patent. The Infringing Product is
  13 not a staple article or commodity of commerce suitable for substantial non-infringing
  14 use and is known by Defendants to be especially made or especially adapted to the
  15 infringe the ’448 Patent. As a result, Defendants’ Infringing Product has been used by
  16 its customers and by users to infringe the ’448 Patent. Defendants continue to engage
  17 in acts of contributory infringement of the ’448 Patent even after receiving notice of
  18 its contributory infringement.
  19                112. Defendants infringe literally or under the doctrine of equivalents, or
  20 both.
  21                113. At no time has Therabody granted Defendants authorization, license, or
  22 permission to utilize the inventions claimed in the ’448 Patent.
  23                114. Therabody has been damaged by Defendants’ acts of infringement of the
  24 ’448 Patent and Therabody will continue to be damaged by such infringement unless
  25 enjoined by this Court. Therabody is entitled to recover damages adequate to
  26 compensate for the infringement under 35 U.S.C. § 284.
  27                115. Therabody is, and has been, irreparably harmed by Defendants’ on-going
  28 infringement including the following harm which cannot be quantified or recouped

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   1 through monetary damages: (1) lost market share that will be difficult, if not
   2 impossible, to recoup later as the Infringing Product becomes entrenched with retail
   3 sellers and trainers who recommend them to their clients, (2) loss of first mover
   4 advantage that Therabody enjoyed as the first company to offer its innovative
   5 percussive devices and patented attachments, (3) loss of Therabody’s investment in
   6 developing the market for percussive devices and its patented attachments,
   7 (4) negative effect on its reputation as innovator and pioneer, (5) the unquantifiable
   8 effect on lost sales of related products, (6) price erosion due to Defendants’ Infringing
   9 Product being sold at a price point lower than Therabody’s patented products,
  10 (7) diversion of resources to defend against loss of market share caused by sales of
  11 the Infringing Product, and (8) Defendants’ unauthorized sales that are enticing others
  12 to offer for sale and sell infringing attachments that leads to additional irreparable
  13 harm described above.
  14                116. Defendants’ acts of infringement, including continuing the infringing
  15 activities after receiving notice of Defendants’ direct and indirect infringement, have
  16 been, and continue to be, willful and deliberate and therefore warrant the award of
  17 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
  18 pursuant to 35 U.S.C. § 284.
  19                                    SIXTH CAUSE OF ACTION
  20                  Patent Infringement of the ’064 Patent, 35 U.S.C. §§ 101 et seq.
  21                                       (Against All Defendants)
  22                117. Therabody realleges and incorporates by reference all foregoing
  23 paragraphs as if fully set forth herein.
  24                118. At all times herein mentioned the ’064 Patent was and is valid and fully
  25 enforceable.
  26                119. Defendants are offering percussive massage devices that infringe at least
  27 claim 11 of the ’064 Patent, including at least the Infringing Product.
  28                120. The Infringing Product is a percussive massage device.

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   1                121. As shown below, the Infringing Product includes a housing, wherein the
   2 housing includes first, second and third handle portions and a head portion that
   3 cooperate to define a handle opening, wherein the first handle portion defines a first
   4 axis, the second handle portion defines a second axis and the third handle portion
   5 defines a third axis, wherein the first, second and third axes cooperate to form a
   6 triangle, such that a user can grasp any of the first, second or third handle portions
   7 independently to use the percussive therapy device.
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  18                122. The Infringing Product includes an electrical source, a motor positioned
  19 in the head portion of the housing, a switch for activating the motor, and a push rod
  20 assembly operatively connected to the motor and configured to reciprocate in
  21 response to activation of the motor.
  22                123. As shown below, the Infringing Product includes a first handle portion
  23 interior edge and defines a first handle portion length, wherein the first handle portion
  24 length is long enough that when a user grasps the first handle portion with a hand at
  25 least a portion of three fingers extend through the handle opening and contact the first
  26 handle portion interior edge, wherein the second handle portion includes a second
  27 handle portion interior edge and defines a second handle portion length, wherein the
  28 second handle portion length is long enough that when a user grasps the second handle

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   1 portion with a hand at least a portion of three fingers extend through the handle
   2 opening and contact the second handle portion interior edge, wherein the third handle
   3 portion includes a third handle portion interior edge and defines a third handle portion
   4 length, wherein the third handle portion length is long enough that when a user grasps
   5 the third handle portion with a hand at least a portion of three fingers extend through
   6 the handle opening and contact the third handle portion interior edge.
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  17                124. The Infringing Product includes at least two of the first handle portion,
  18 second handle portion and third handle portion are generally straight.
  19                125. The Infringing Product includes a fourth interior surface that at least
  20 partially defines the handle opening, wherein the first handle portion interior surface,
  21 second handle portion interior surface, third handle portion interior surface and fourth
  22 interior surface cooperate to define a quadrilateral.
  23                126. Defendants’ infringe literally or under the doctrine of equivalents, or
  24 both.
  25                127. On information and belief, at least since Plaintiff’s August 11, 2021
  26 letter, Defendants have knowingly and actively induced the infringement of one or
  27 more of the ’064 Patent claims by, inter alia, marketing, promoting, and offering for
  28 use the Infringing Product, knowingly and intending that the use of the Infringing

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   1 Product by Defendants’ customers and by users infringes the ’064 Patent. For
   2 example, Defendants intend to induce such infringement by, among other things,
   3 promoting users to purchase and use the Infringing Product knowing that its purchase
   4 and use infringes one or more claims of the ’064 Patent.
   5                128. On information and belief, at least since Plaintiff’s August 11, 2021
   6 letter, Defendants have contributed to the infringement of the ’064 Patent by their
   7 customers and users of the Infringing Product by, inter alia, making, offering to sell,
   8 selling and/or importing into the United States, a component of a patented machine,
   9 manufacture or combination, or an apparatus for use in practicing a patented process,
  10 constituting a material part of the invention, knowing the same to be especially made
  11 or especially adapted for use in infringing the ’064 Patent. The Infringing Product is
  12 not a staple article or commodity of commerce suitable for substantial non-infringing
  13 use and is known by Defendants to be especially made or especially adapted to the
  14 infringe the ’064 Patent. As a result, Defendants’ Infringing Product has been used by
  15 its customers and by users to infringe the ’064 Patent. Defendants continue to engage
  16 in acts of contributory infringement of the ‘064 Patent even after receiving notice of
  17 its contributory infringement.
  18                129. At no time has Therabody granted Defendants authorization, license, or
  19 permission to utilize the design claimed in the ‘064 Patent.
  20                130. Therabody has been damaged by Defendants’ acts of infringement of the
  21 ‘064 Patent and Therabody will continue to be damaged by such infringement unless
  22 enjoined by this Court. Therabody is entitled to recover damages adequate to
  23 compensate for the infringement under 35 U.S.C. § 284.
  24                131. Therabody is, and has been, irreparably harmed by Defendants’ on-going
  25 infringement including the following harm which cannot be quantified or recouped
  26 through monetary damages: (1) lost market share that will be difficult, if not
  27 impossible, to recoup later as the Infringing Product becomes entrenched with retail
  28 sellers and trainers who recommend them to their clients, (2) loss of first mover

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   1 advantage that Therabody enjoyed as the first company to offer its innovative and
   2 patented percussive devices, (3) loss of Therabody’s investment in developing the
   3 market for percussive devices, (4) negative effect on its reputation as innovator and
   4 pioneer, (5) the unquantifiable effect on lost sales of related products, (6) price erosion
   5 due to Defendants’ Infringing Product being sold at a price point lower than
   6 Therabody’s patented products, (7) diversion of resources to defend against loss of
   7 market share caused by sales of the Infringing Product, and (8) Defendants’
   8 unauthorized sales that are enticing others to offer for sale and sell infringing
   9 attachments that leads to additional irreparable harm described above.
  10                132. Defendants’ acts of infringement have been, and continue to be, willful
  11 and deliberate and therefore warrant the award of attorneys’ fees pursuant to 35
  12 U.S.C. § 285 and the award of enhanced damages pursuant to 35 U.S.C. § 284.
  13                                  SEVENTH CAUSE OF ACTION
  14                  Patent Infringement of the ’722 Patent, 35 U.S.C. §§ 101 et seq.
  15                                       (Against All Defendants)
  16                133. Therabody realleges and incorporates by reference all foregoing
  17 paragraphs as if fully set forth herein.
  18                134. At all times herein mentioned the ’722 Patent was and is valid and fully
  19 enforceable.
  20                135. Defendants are offering percussive massage devices that infringe at least
  21 claim 18 of the ’722 Patent, including at least the Infringing Product.
  22                136. The Infringing Product is a percussive massage device.
  23                137. As shown below, the Infringing Product includes a housing, wherein the
  24 housing includes first, second and third handle portions that cooperate to at least
  25 partially define a handle opening, wherein the first handle portion includes a first
  26 handle portion interior edge, wherein the second handle portion includes a second
  27 handle portion interior edge, wherein the third handle portion includes a third handle
  28 portion interior edge, wherein the first handle portion interior edge defines a first

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   1 handle portion interior edge extended, wherein the second handle portion interior edge
   2 defines a second handle portion interior edge extended, wherein the third handle
   3 portion interior edge defines a third handle portion interior edge extended, wherein
   4 the first, second and third interior edges extended cooperate to define a triangle that
   5 surrounds the handle opening, such that a user can grasp any of the first, second or
   6 third handle portions independently to use the percussive massage device.
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  17                138. The Infringing Product includes an electrical source, a motor positioned
  18 in the housing, a switch for activating the motor, and a push rod assembly operatively
  19 connected to the motor and configured to reciprocate in response to activation of the
  20 motor.
  21                139. As shown above, the Infringing Product includes a housing with a head
  22 portion that at least partially defines the handle opening, wherein the head portion
  23 defines a head portion interior edge that is generally straight.
  24                140. Defendants’ infringe literally or under the doctrine of equivalents, or
  25 both.
  26                141. On information and belief, at least since the filing of the complaint,
  27 Defendants have knowingly and actively induced the infringement of one or more of
  28 the ’722 Patent claims by, inter alia, marketing, promoting, and offering for use the

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   1 Infringing Product, knowingly and intending that the use of the Infringing Product by
   2 Defendants’ customers and by users infringes the ’722 Patent. For example,
   3 Defendants intend to induce such infringement by, among other things, promoting
   4 users to purchase and use the Infringing Product knowing that its purchase and use
   5 infringes one or more claims of the ’722 Patent.
   6                142. On information and belief, at least since the filing of the complaint,
   7 Defendants have contributed to the infringement of the ’722 Patent by their customers
   8 and users of the Infringing Product by, inter alia, making, offering to sell, selling
   9 and/or importing into the United States, a component of a patented machine,
  10 manufacture or combination, or an apparatus for use in practicing a patented process,
  11 constituting a material part of the invention, knowing the same to be especially made
  12 or especially adapted for use in infringing the ’722 Patent. The Infringing Product is
  13 not a staple article or commodity of commerce suitable for substantial non-infringing
  14 use and is known by Defendants to be especially made or especially adapted to the
  15 infringe the ’722 Patent. As a result, Defendants’ Infringing Product has been used by
  16 its customers and by users to infringe the ’722 Patent. Defendants continue to engage
  17 in acts of contributory infringement of the ’722 Patent even after receiving notice of
  18 its contributory infringement.
  19                143. At no time has Therabody granted Defendants authorization, license, or
  20 permission to utilize the design claimed in the ’722 Patent.
  21                144. Therabody has been damaged by Defendants’ acts of infringement of the
  22 ’722 Patent and Therabody will continue to be damaged by such infringement unless
  23 enjoined by this Court. Therabody is entitled to recover damages adequate to
  24 compensate for the infringement under 35 U.S.C. § 284.
  25                145. Therabody is, and has been, irreparably harmed by Defendants’ on-going
  26 infringement including the following harm which cannot be quantified or recouped
  27 through monetary damages: (1) lost market share that will be difficult, if not
  28 impossible, to recoup later as the Infringing Product becomes entrenched with retail

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   1 sellers and trainers who recommend them to their clients, (2) loss of first mover
   2 advantage that Therabody enjoyed as the first company to offer its innovative and
   3 patented percussive devices, (3) loss of Therabody’s investment in developing the
   4 market for percussive devices, (4) negative effect on its reputation as innovator and
   5 pioneer, (5) the unquantifiable effect on lost sales of related products, (6) price erosion
   6 due to Defendants’ Infringing Product being sold at a price point lower than
   7 Therabody’s patented products, (7) diversion of resources to defend against loss of
   8 market share caused by sales of the Infringing Product, and (8) Defendants’
   9 unauthorized sales that are enticing others to offer for sale and sell infringing
  10 attachments that leads to additional irreparable harm described above.
  11                146. Defendants’ acts of infringement have been, and continue to be, willful
  12 and deliberate and therefore warrant the award of attorneys’ fees pursuant to 35
  13 U.S.C. § 285 and the award of enhanced damages pursuant to 35 U.S.C. § 284
  14                                  EIGHTH CAUSE OF ACTION
  15                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
  16                                             ‘D714 Patent
  17                                       (Against All Defendants)
  18                147. Therabody realleges and incorporates by reference all foregoing
  19 paragraphs as if fully set forth herein.
  20                148. At all times herein mentioned the ‘D714 Patent was and is valid and fully
  21 enforceable.
  22                149. Defendants are offering percussive massage devices that infringe the
  23 ‘D714 Patent, including at least the First Infringing Device, as shown above. As
  24 shown below, a side by side comparison of FIG. 2 of Therabody’s ‘D714 Patent and
  25 Defendants’ First Infringing Device quickly reveals that the First Infringing Device
  26 appears substantially the same as Therabody’s ‘D714 Patent to an ordinary observer;
  27 the resemblance is such as to deceive such an observer, inducing him or her to
  28 purchase one supposing it to be the other. Among other things, an ordinary observer

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   1 would conclude that the First Infringing Device has a number of the same, or very
   2 similar, features as the design patented in the ‘D714 Patent that contribute to an
   3 overall appearance that is substantially the same, including that both the patented
   4 design and First Infringing Device are (a) triangular shaped, (b) have the same relative
   5 dimensions (e.g., relative lengths of handle portions to one another and the head
   6 portion), (c) have a rounded head portion, and (d) circular medallion on the rounded
   7 head portion:
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  14                150. Defendants have and continue to directly infringe the ‘D714 Patent by
  15 making, using, offering for sale, selling and importing the First Infringing Device in
  16 conjunction with percussive massage devices competitive to Therabody.
  17                151. Defendants’ infringement is based upon literal infringement or
  18 infringement under the doctrine of equivalents, or both.
  19                152. On information and belief, at least since Plaintiff’s August 11, 2021
  20 letter, Defendants have knowingly and actively induced the infringement of one or
  21 more of the ‘D714 Patent claims by, inter alia, marketing, promoting, and offering
  22 for use the First Infringing Device, knowingly and intending that the use of the First
  23 Infringing Device by Defendants’ customers and by users infringes the ‘D714 Patent.
  24 For example, Defendants intend to induce such infringement by, among other things,
  25 promoting users to purchase and use the First Infringing Device knowing that its
  26 purchase and use infringes one or more claims of the ‘D714 Patent.
  27                153. On information and belief, at least since Plaintiff’s August 11, 2021
  28 letter, Defendants have contributed to the infringement of the ‘D714 Patent by, inter

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   1 alia, marketing and promoting the First Infringing Device to its customers and users.
   2 The First Infringing Device is not a staple article or commodity of commerce suitable
   3 for substantial non-infringing use and is known by Defendants to be especially made
   4 or especially adapted to the infringe the ‘D714 Patent. As a result, Defendants’ First
   5 Infringing Device has been used by their customers and by users to infringe the ‘D714
   6 Patent. Defendants continue to engage in acts of contributory infringement of the
   7 ‘D714 Patent even after receiving notice of their contributory infringement.
   8                154. At no time has Therabody granted Defendants authorization, license, or
   9 permission to utilize the design claimed in the ‘D714 Patent.
  10                155. Therabody has been damaged by Defendants’ acts of infringement of the
  11 ‘D714 Patent and Therabody will continue to be damaged by such infringement unless
  12 enjoined by this Court. Therabody is entitled to recover damages adequate to
  13 compensate for the infringement under 35 U.S.C. § 284.
  14                156. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
  15 infringement including the following harm which cannot be quantified or recouped
  16 through monetary damages: (1) lost market share that will be difficult, if not
  17 impossible, to recoup later as the First Infringing Device becomes entrenched with
  18 retail sellers and trainers who recommend them to their clients, (2) loss of first mover
  19 advantage that Therabody enjoyed as the first company to offer its innovative
  20 percussive devices and patented attachments, (3) loss of Therabody’s investment in
  21 building up the market for percussive devices, (4) negative effect on its reputation as
  22 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
  23 (6) price erosion due to Defendants’ First Infringing Device being sold at a price point
  24 lower than Therabody’s patented product, (7) diversion of resources to defend against
  25 loss of market share caused by sales of the First Infringing Device, and (8)
  26 Defendants’ unauthorized sales that are enticing others to offer for sale and sell
  27 infringing attachments that leads to additional irreparable harm described above.
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   1                157. Defendants’ acts of infringement, including continuing the infringing
   2 activities after receiving notice of Defendants’ direct and indirect infringement, have
   3 been, and continue to be, willful and deliberate and therefore warrant the award of
   4 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
   5 pursuant to 35 U.S.C. § 284.
   6                                   NINTH CAUSE OF ACTION
   7                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   8                                             ‘D715 Patent
   9                                       (Against All Defendants)
  10                158. Therabody realleges and incorporates by reference all foregoing
  11 paragraphs as if fully set forth herein.
  12                159. At all times herein mentioned the ‘D715 Patent was and is valid and fully
  13 enforceable.
  14                160. Defendants are offering percussive massage devices that infringe the
  15 ‘D715 Patent, including at least the First Infringing Device, as shown above. As
  16 shown below, a side by side comparison of FIG. 2 of Therabody’s ‘D715 Patent and
  17 Defendants’ First Infringing Device quickly reveals that the First Infringing Device
  18 appears substantially the same as Therabody’s ‘D715 Patent to an ordinary observer;
  19 the resemblance is such as to deceive such an observer, inducing him or her to
  20 purchase one supposing it to be the other. Among other things, an ordinary observer
  21 would conclude that the First Infringing Device has a number of the same, or very
  22 similar, features as the design patented in the ‘D715 Patent that contribute to an
  23 overall appearance that is substantially the same, including that both the patented
  24 design and First Infringing Device are (a) triangular shaped, (b) have the same relative
  25 dimensions (e.g., relative lengths of handle portions to one another and the head
  26 portion), (c) have a rounded head portion, (d) circular medallion on the rounded head
  27 portion, and (e) a key-design extending from the rounded head portion along the third
  28 handle portion:

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   8                161. Defendants have and continue to directly infringe the ‘D715 Patent by
   9 making, using, offering for sale, selling and importing the First Infringing Device in
  10 conjunction with percussive massage devices competitive to Therabody.
  11                162. Defendants’ infringement is based upon literal infringement or
  12 infringement under the doctrine of equivalents, or both.
  13         163. On information and belief, at least since Plaintiff’s August 11, 2021
  14 letter, Defendants have knowingly and actively induced the infringement of one or
  15 more of the ‘D715 Patent claims by, inter alia, marketing, promoting, and offering
  16 for use the First Infringing Device, knowingly and intending that the use of the First
  17 Infringing Device by Defendants’ customers and by users infringes the ‘D715 Patent.
  18 For example, Defendants intend to induce such infringement by, among other things,
  19 promoting users to purchase and use the First Infringing Device knowing that its
  20 purchase and use infringes one or more claims of the ‘D715 Patent.
  21         164. On information and belief, at least since Plaintiff’s August 11, 2021
  22 letter, Defendants have contributed to the infringement of the ‘D715 Patent by, inter
  23 alia, marketing and promoting the First Infringing Device to its customers and users.
  24 The First Infringing Device is not a staple article or commodity of commerce suitable
  25 for substantial non-infringing use and is known by Defendants to be especially made
  26 or especially adapted to the infringe the ‘D715 Patent. As a result, Defendants’ First
  27 Infringing Device has been used by their customers and by users to infringe the ‘D715
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   1 Patent. Defendants continue to engage in acts of contributory infringement of the
   2 ‘D715 Patent even after receiving notice of their contributory infringement.
   3                165. At no time has Therabody granted Defendants authorization, license, or
   4 permission to utilize the design claimed in the ‘D715 Patent.
   5                166. Therabody has been damaged by Defendants’ acts of infringement of the
   6 ‘D715 Patent and Therabody will continue to be damaged by such infringement unless
   7 enjoined by this Court. Therabody is entitled to recover damages adequate to
   8 compensate for the infringement under 35 U.S.C. § 284.
   9                167. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
  10 infringement including the following harm which cannot be quantified or recouped
  11 through monetary damages: (1) lost market share that will be difficult, if not
  12 impossible, to recoup later as the First Infringing Device becomes entrenched with
  13 retail sellers and trainers who recommend them to their clients, (2) loss of first mover
  14 advantage that Therabody enjoyed as the first company to offer its innovative
  15 percussive devices and patented attachments, (3) loss of Therabody’s investment in
  16 building up the market for percussive devices, (4) negative effect on its reputation as
  17 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
  18 (6) price erosion due to Defendants’ First Infringing Device being sold at a price point
  19 lower than Therabody’s patented product, (7) diversion of resources to defend against
  20 loss of market share caused by sales of the First Infringing Device, and (8)
  21 Defendants’ unauthorized sales that are enticing others to offer for sale and sell
  22 infringing attachments that leads to additional irreparable harm described above.
  23                168. Defendants’ acts of infringement, including continuing the infringing
  24 activities after receiving notice of Defendants’ direct and indirect infringement, have
  25 been, and continue to be, willful and deliberate and therefore warrant the award of
  26 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
  27 pursuant to 35 U.S.C. § 284.
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   1                                   TENTH CAUSE OF ACTION
   2                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   3                                             ‘D716 Patent
   4                                       (Against All Defendants)
   5                169. Therabody realleges and incorporates by reference all foregoing
   6 paragraphs as if fully set forth herein.
   7                170. At all times herein mentioned the ‘D716 Patent was and is valid and fully
   8 enforceable.
   9                171. Defendants are offering percussive massage devices that infringe the
  10 ‘D716 Patent, including at least the First Infringing Device, as shown above. As
  11 shown below, a side by side comparison of FIG. 2 of Therabody’s ‘D716 Patent and
  12 Defendants’ First Infringing Device quickly reveals that the First Infringing Device
  13 appears substantially the same as Therabody’s ‘D716 Patent to an ordinary observer;
  14 the resemblance is such as to deceive such an observer, inducing him or her to
  15 purchase one supposing it to be the other. Among other things, an ordinary observer
  16 would conclude that the First Infringing Device has a number of the same, or very
  17 similar, features as the design patented in the ‘D716 Patent that contribute to an
  18 overall appearance that is substantially the same, including that both the patented
  19 design and First Infringing Device are (a) triangular shaped, (b) have the same relative
  20 dimensions (e.g., relative lengths of handle portions to one another and the head
  21 portion), (c) have a rounded head portion, (d) circular medallion on the rounded head
  22 portion, and (e) a key-design extending from the rounded head portion along the third
  23 handle portion:
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   1                172. Defendants have and continue to directly infringe the ‘D716 Patent by
   2 making, using, offering for sale, selling and importing the First Infringing Device in
   3 conjunction with percussive massage devices competitive to Therabody.
   4                173. Defendants’ infringement is based upon literal infringement or
   5 infringement under the doctrine of equivalents, or both.
   6                174. On information and belief, at least since Plaintiff’s August 11, 2021
   7 letter, Defendants have knowingly and actively induced the infringement of one or
   8 more of the ‘D716 Patent claims by, inter alia, marketing, promoting, and offering
   9 for use the First Infringing Device, knowingly and intending that the use of the First
  10 Infringing Device by Defendants’ customers and by users infringes the ‘D716 Patent.
  11 For example, Defendants intend to induce such infringement by, among other things,
  12 promoting users to purchase and use the First Infringing Device knowing that its
  13 purchase and use infringes one or more claims of the ‘D716 Patent.
  14                175. On information and belief, at least since Plaintiff’s August 11, 2021
  15 letter, Defendants have contributed to the infringement of the ‘D716 Patent by, inter
  16 alia, marketing and promoting the First Infringing Device to its customers and users.
  17 The First Infringing Device is not a staple article or commodity of commerce suitable
  18 for substantial non-infringing use and is known by Defendants to be especially made
  19 or especially adapted to the infringe the ‘D716 Patent. As a result, Defendants’ First
  20 Infringing Device has been used by their customers and by users to infringe the ‘D716
  21 Patent. Defendants continue to engage in acts of contributory infringement of the
  22 ‘D716 Patent even after receiving notice of their contributory infringement.
  23                176. At no time has Therabody granted Defendants authorization, license, or
  24 permission to utilize the design claimed in the ‘D716 Patent.
  25                177. Therabody has been damaged by Defendants’ acts of infringement of the
  26 ‘D716 Patent and Therabody will continue to be damaged by such infringement unless
  27 enjoined by this Court. Therabody is entitled to recover damages adequate to
  28 compensate for the infringement under 35 U.S.C. § 284.

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   1                178. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
   2 infringement including the following harm which cannot be quantified or recouped
   3 through monetary damages: (1) lost market share that will be difficult, if not
   4 impossible, to recoup later as the First Infringing Device becomes entrenched with
   5 retail sellers and trainers who recommend them to their clients, (2) loss of first mover
   6 advantage that Therabody enjoyed as the first company to offer its innovative
   7 percussive devices and patented attachments, (3) loss of Therabody’s investment in
   8 building up the market for percussive devices, (4) negative effect on its reputation as
   9 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
  10 (6) price erosion due to Defendants’ First Infringing Device being sold at a price point
  11 lower than Therabody’s patented product, (7) diversion of resources to defend against
  12 loss of market share caused by sales of the First Infringing Device, and (8)
  13 Defendants’ unauthorized sales that are enticing others to offer for sale and sell
  14 infringing attachments that leads to additional irreparable harm described above.
  15                179. Defendants’ acts of infringement, including continuing the infringing
  16 activities after receiving notice of Defendants’ direct and indirect infringement, have
  17 been, and continue to be, willful and deliberate and therefore warrant the award of
  18 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
  19 pursuant to 35 U.S.C. § 284.
  20                                 ELEVENTH CAUSE OF ACTION
  21                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
  22                                             ‘D985 Patent
  23                                       (Against All Defendants)
  24                180. Therabody realleges and incorporates by reference all foregoing
  25 paragraphs as if fully set forth herein.
  26                181. At all times herein mentioned the ‘D985 Patent was and is valid and fully
  27 enforceable.
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   1                182. Defendants are offering percussive massage devices that infringe the
   2 ‘D985 Patent, including at least the First Infringing Device, as shown above. As
   3 shown below, a side by side comparison of FIG. 2 of Therabody’s ‘D985 Patent and
   4 Defendants’ First Infringing Device quickly reveals that the First Infringing Device
   5 appears substantially the same as Therabody’s ‘D985 Patent to an ordinary observer;
   6 the resemblance is such as to deceive such an observer, inducing him or her to
   7 purchase one supposing it to be the other. Among other things, an ordinary observer
   8 would conclude that the First Infringing Device has a number of the same, or very
   9 similar, features as the design patented in the ‘D985 Patent that contribute to an
  10 overall appearance that is substantially the same, including that both the patented
  11 design and First Infringing Device are (a) triangular shaped, (b) have the same relative
  12 dimensions (e.g., relative lengths of handle portions to one another and the head
  13 portion), (c) have a rounded head portion, (d) circular medallion on the rounded head
  14 portion, and (e) a key-design extending from the rounded head portion along the third
  15 handle portion:
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  25                183. Defendants have and continue to directly infringe the ‘D985 Patent by
  26 making, using, offering for sale, selling and importing the First Infringing Device in
  27 conjunction with percussive massage devices competitive to Therabody.
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   1                184. Defendants’ infringement is based upon literal infringement or
   2 infringement under the doctrine of equivalents, or both.
   3                185. On information and belief, at least since Plaintiff’s August 11, 2021
   4 letter, Defendants have knowingly and actively induced the infringement of one or
   5 more of the ‘D985 Patent claims by, inter alia, marketing, promoting, and offering
   6 for use the First Infringing Device, knowingly and intending that the use of the First
   7 Infringing Device by Defendants’ customers and by users infringes the ‘D985 Patent.
   8 For example, Defendants intend to induce such infringement by, among other things,
   9 promoting users to purchase and use the First Infringing Device knowing that its
  10 purchase and use infringes one or more claims of the ‘D985 Patent.
  11                186. On information and belief, at least since Plaintiff’s August 11, 2021
  12 letter, Defendants have contributed to the infringement of the ‘D985 Patent by, inter
  13 alia, marketing and promoting the First Infringing Device to its customers and users.
  14 The First Infringing Device is not a staple article or commodity of commerce suitable
  15 for substantial non-infringing use and is known by Defendants to be especially made
  16 or especially adapted to the infringe the ‘D985 Patent. As a result, Defendants’ First
  17 Infringing Device has been used by their customers and by users to infringe the ‘D985
  18 Patent. Defendants continue to engage in acts of contributory infringement of the
  19 ‘D985 Patent even after receiving notice of their contributory infringement.
  20                187. At no time has Therabody granted Defendants authorization, license, or
  21 permission to utilize the design claimed in the ‘D985 Patent.
  22                188. Therabody has been damaged by Defendants’ acts of infringement of the
  23 ‘D985 Patent and Therabody will continue to be damaged by such infringement unless
  24 enjoined by this Court. Therabody is entitled to recover damages adequate to
  25 compensate for the infringement under 35 U.S.C. § 284.
  26                189. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
  27 infringement including the following harm which cannot be quantified or recouped
  28 through monetary damages: (1) lost market share that will be difficult, if not

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   1 impossible, to recoup later as the First Infringing Device becomes entrenched with
   2 retail sellers and trainers who recommend them to their clients, (2) loss of first mover
   3 advantage that Therabody enjoyed as the first company to offer its innovative
   4 percussive devices and patented attachments, (3) loss of Therabody’s investment in
   5 building up the market for percussive devices, (4) negative effect on its reputation as
   6 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
   7 (6) price erosion due to Defendants’ First Infringing Device being sold at a price point
   8 lower than Therabody’s patented product, (7) diversion of resources to defend against
   9 loss of market share caused by sales of the First Infringing Device, and (8)
  10 Defendants’ unauthorized sales that are enticing others to offer for sale and sell
  11 infringing attachments that leads to additional irreparable harm described above.
  12                190. Defendants’ acts of infringement, including continuing the infringing
  13 activities after receiving notice of Defendants’ direct and indirect infringement, have
  14 been, and continue to be, willful and deliberate and therefore warrant the award of
  15 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
  16 pursuant to 35 U.S.C. § 284.
  17                                TWELVETH CAUSE OF ACTION
  18                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
  19                                             ‘D986 Patent
  20                                       (Against All Defendants)
  21                191. Therabody realleges and incorporates by reference all foregoing
  22 paragraphs as if fully set forth herein.
  23                192. At all times herein mentioned the ‘D986 Patent was and is valid and fully
  24 enforceable.
  25                193. Defendants are offering percussive massage devices that infringe the
  26 ‘D986 Patent, including at least the First Infringing Device, as shown above. As
  27 shown below, a side by side comparison of FIG. 2 of Therabody’s ‘D986 Patent and
  28 Defendants’ First Infringing Device quickly reveals that the First Infringing Device

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   1 appears substantially the same as Therabody’s ‘D986 Patent to an ordinary observer;
   2 the resemblance is such as to deceive such an observer, inducing him or her to
   3 purchase one supposing it to be the other. Among other things, an ordinary observer
   4 would conclude that the First Infringing Device has a number of the same, or very
   5 similar, features as the design patented in the ‘D986 Patent that contribute to an
   6 overall appearance that is substantially the same, including that both the patented
   7 design and First Infringing Device are (a) triangular shaped, (b) have the same relative
   8 dimensions (e.g., relative lengths of handle portions to one another and the head
   9 portion), (c) have a rounded head portion, and (d) circular medallion on the rounded
  10 head portion:
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  19                194. Defendants have and continue to directly infringe the ‘D986 Patent by
  20 making, using, offering for sale, selling and importing the First Infringing Device in
  21 conjunction with percussive massage devices competitive to Therabody.
  22                195. Defendants’ infringement is based upon literal infringement or
  23 infringement under the doctrine of equivalents, or both.
  24                196. On information and belief, at least since the filing of this complaint,
  25 Defendants have knowingly and actively induced the infringement of one or more of
  26 the ‘D986 Patent claims by, inter alia, marketing, promoting, and offering for use the
  27 First Infringing Device, knowingly and intending that the use of the First Infringing
  28 Device by Defendants’ customers and by users infringes the ‘D986 Patent. For

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   1 example, Defendants intend to induce such infringement by, among other things,
   2 promoting users to purchase and use the First Infringing Device knowing that its
   3 purchase and use infringes one or more claims of the ‘D986 Patent.
   4                197. On information and belief, at least since the filing of this complaint,
   5 Defendants have contributed to the infringement of the ‘D986 Patent by, inter alia,
   6 marketing and promoting the First Infringing Device to its customers and users. The
   7 First Infringing Device is not a staple article or commodity of commerce suitable for
   8 substantial non-infringing use and is known by Defendants to be especially made or
   9 especially adapted to the infringe the ‘D986 Patent. As a result, Defendants’ First
  10 Infringing Device has been used by their customers and by users to infringe the ‘D986
  11 Patent. Defendants continue to engage in acts of contributory infringement of the
  12 ‘D986 Patent even after receiving notice of their contributory infringement.
  13                198. At no time has Therabody granted Defendants authorization, license, or
  14 permission to utilize the design claimed in the ‘D986 Patent.
  15                199. Therabody has been damaged by Defendants’ acts of infringement of the
  16 ‘D986 Patent and Therabody will continue to be damaged by such infringement unless
  17 enjoined by this Court. Therabody is entitled to recover damages adequate to
  18 compensate for the infringement under 35 U.S.C. § 284.
  19                200. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
  20 infringement including the following harm which cannot be quantified or recouped
  21 through monetary damages: (1) lost market share that will be difficult, if not
  22 impossible, to recoup later as the First Infringing Device becomes entrenched with
  23 retail sellers and trainers who recommend them to their clients, (2) loss of first mover
  24 advantage that Therabody enjoyed as the first company to offer its innovative
  25 percussive devices and patented attachments, (3) loss of Therabody’s investment in
  26 building up the market for percussive devices, (4) negative effect on its reputation as
  27 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
  28 (6) price erosion due to Defendants’ First Infringing Device being sold at a price point

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   1 lower than Therabody’s patented product, (7) diversion of resources to defend against
   2 loss of market share caused by sales of the First Infringing Device, and (8)
   3 Defendants’ unauthorized sales that are enticing others to offer for sale and sell
   4 infringing attachments that leads to additional irreparable harm described above.
   5                201. Defendants’ acts of infringement, including continuing the infringing
   6 activities after receiving notice of Defendants’ direct and indirect infringement, have
   7 been, and continue to be, willful and deliberate and therefore warrant the award of
   8 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
   9 pursuant to 35 U.S.C. § 284.
  10                               THIRTEENTH CAUSE OF ACTION
  11                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
  12                                             ‘D601 Patent
  13                                       (Against All Defendants)
  14                202. Therabody realleges and incorporates by reference all foregoing
  15 paragraphs as if fully set forth herein.
  16                203. At all times herein mentioned the ‘D601 Patent was and is valid and fully
  17 enforceable.
  18                204. Defendants are offering percussive massage devices that infringe the
  19 ‘D601 Patent, including at least the First Infringing Device, as shown above. As
  20 shown below, a side by side comparison of FIG. 2 of Therabody’s ‘D601 Patent and
  21 Defendants’ First Infringing Device quickly reveals that the First Infringing Device
  22 appears substantially the same as Therabody’s ‘D601 Patent to an ordinary observer;
  23 the resemblance is such as to deceive such an observer, inducing him or her to
  24 purchase one supposing it to be the other. Among other things, an ordinary observer
  25 would conclude that the First Infringing Device has a number of the same, or very
  26 similar, features as the design patented in the ‘D601 Patent that contribute to an
  27 overall appearance that is substantially the same, including that both the patented
  28 design and First Infringing Device are (a) triangular shaped, (b) have the same relative

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   1 dimensions (e.g., relative lengths of handle portions to one another and the head
   2 portion), (c) have a rounded head portion, and (d) circular medallion on the rounded
   3 head portion:
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  11                205. Defendants have and continue to directly infringe the ‘D601 Patent by
  12 making, using, offering for sale, selling and importing the First Infringing Device in
  13 conjunction with percussive massage devices competitive to Therabody.
  14                206. Defendants’ infringement is based upon literal infringement or
  15 infringement under the doctrine of equivalents, or both.
  16                207. On information and belief, at least since Plaintiff’s August 11, 2021
  17 letter, Defendants have knowingly and actively induced the infringement of one or
  18 more of the ‘D601 Patent claims by, inter alia, marketing, promoting, and offering
  19 for use the First Infringing Device, knowingly and intending that the use of the First
  20 Infringing Device by Defendants’ customers and by users infringes the ‘D601 Patent.
  21 For example, Defendants intend to induce such infringement by, among other things,
  22 promoting users to purchase and use the First Infringing Device knowing that its
  23 purchase and use infringes one or more claims of the ‘D601 Patent.
  24                208. On information and belief, at least since Plaintiff’s August 11, 2021
  25 letter, Defendants have contributed to the infringement of the ‘D601 Patent by, inter
  26 alia, marketing and promoting the First Infringing Device to its customers and users.
  27 The First Infringing Device is not a staple article or commodity of commerce suitable
  28 for substantial non-infringing use and is known by Defendants to be especially made

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   1 or especially adapted to the infringe the ‘D601 Patent. As a result, Defendants’ First
   2 Infringing Device has been used by their customers and by users to infringe the ‘D601
   3 Patent. Defendants continue to engage in acts of contributory infringement of the
   4 ‘D601 Patent even after receiving notice of their contributory infringement.
   5                209. At no time has Therabody granted Defendants authorization, license, or
   6 permission to utilize the design claimed in the ‘D601 Patent.
   7                210. Therabody has been damaged by Defendants’ acts of infringement of the
   8 ‘D601 Patent and Therabody will continue to be damaged by such infringement unless
   9 enjoined by this Court. Therabody is entitled to recover damages adequate to
  10 compensate for the infringement under 35 U.S.C. § 284.
  11                211. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
  12 infringement including the following harm which cannot be quantified or recouped
  13 through monetary damages: (1) lost market share that will be difficult, if not
  14 impossible, to recoup later as the First Infringing Device becomes entrenched with
  15 retail sellers and trainers who recommend them to their clients, (2) loss of first mover
  16 advantage that Therabody enjoyed as the first company to offer its innovative
  17 percussive devices and patented attachments, (3) loss of Therabody’s investment in
  18 building up the market for percussive devices, (4) negative effect on its reputation as
  19 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
  20 (6) price erosion due to Defendants’ First Infringing Device being sold at a price point
  21 lower than Therabody’s patented product, (7) diversion of resources to defend against
  22 loss of market share caused by sales of the First Infringing Device, and (8)
  23 Defendants’ unauthorized sales that are enticing others to offer for sale and sell
  24 infringing attachments that leads to additional irreparable harm described above.
  25                212. Defendants’ acts of infringement, including continuing the infringing
  26 activities after receiving notice of Defendants’ direct and indirect infringement, have
  27 been, and continue to be, willful and deliberate and therefore warrant the award of
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   1 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
   2 pursuant to 35 U.S.C. § 284.
   3                               FOURTEENTH CAUSE OF ACTION
   4                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   5                                             ‘D573 Patent
   6                                       (Against All Defendants)
   7                213. Therabody realleges and incorporates by reference all foregoing
   8 paragraphs as if fully set forth herein.
   9                214. At all times herein mentioned the ‘D573 Patent was and is valid and fully
  10 enforceable.
  11                215. Defendants are offering percussive massage devices that infringe the
  12 ‘D573 Patent, including at least the First Infringing Device, as shown above. As
  13 shown below, a side by side comparison of FIG. 2 of Therabody’s ‘D573 Patent and
  14 Defendants’ First Infringing Device quickly reveals that the First Infringing Device
  15 appears substantially the same as Therabody’s ‘D573 Patent to an ordinary observer;
  16 the resemblance is such as to deceive such an observer, inducing him or her to
  17 purchase one supposing it to be the other. Among other things, an ordinary observer
  18 would conclude that the First Infringing Device has a number of the same, or very
  19 similar, features as the design patented in the ‘D573 Patent that contribute to an
  20 overall appearance that is substantially the same, including that both the patented
  21 design and First Infringing Device are (a) triangular shaped, (b) have the same relative
  22 dimensions (e.g., relative lengths of handle portions to one another and the head
  23 portion), (c) have a rounded head portion, and (d) circular medallion on the rounded
  24 head portion, and (e) a key-design extending from the rounded head portion along the
  25 third handle portion:
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   7                216. Defendants have and continue to directly infringe the ‘D573 Patent by
   8 making, using, offering for sale, selling and importing the First Infringing Device in
   9 conjunction with percussive massage devices competitive to Therabody.
  10                217. Defendants’ infringement is based upon literal infringement or
  11 infringement under the doctrine of equivalents, or both.
  12                218. On information and belief, at least since Plaintiff’s August 11, 2021
  13 letter, Defendants have knowingly and actively induced the infringement of one or
  14 more of the ‘D573 Patent claims by, inter alia, marketing, promoting, and offering
  15 for use the First Infringing Device, knowingly and intending that the use of the First
  16 Infringing Device by Defendants’ customers and by users infringes the ‘D573 Patent.
  17 For example, Defendants intend to induce such infringement by, among other things,
  18 promoting users to purchase and use the First Infringing Device knowing that its
  19 purchase and use infringes one or more claims of the ‘D573 Patent.
  20                219. On information and belief, at least since Plaintiff’s August 11, 2021
  21 letter, Defendants have contributed to the infringement of the ‘D573 Patent by, inter
  22 alia, marketing and promoting the First Infringing Device to its customers and users.
  23 The First Infringing Device is not a staple article or commodity of commerce suitable
  24 for substantial non-infringing use and is known by Defendants to be especially made
  25 or especially adapted to the infringe the ‘D573 Patent. As a result, Defendants’ First
  26 Infringing Device has been used by their customers and by users to infringe the ‘D573
  27 Patent. Defendants continue to engage in acts of contributory infringement of the
  28 ‘D573 Patent even after receiving notice of their contributory infringement.

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   1                220. At no time has Therabody granted Defendants authorization, license, or
   2 permission to utilize the design claimed in the ‘D573 Patent.
   3                221. Therabody has been damaged by Defendants’ acts of infringement of the
   4 ‘D573 Patent and Therabody will continue to be damaged by such infringement unless
   5 enjoined by this Court. Therabody is entitled to recover damages adequate to
   6 compensate for the infringement under 35 U.S.C. § 284.
   7                222. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
   8 infringement including the following harm which cannot be quantified or recouped
   9 through monetary damages: (1) lost market share that will be difficult, if not
  10 impossible, to recoup later as the First Infringing Device becomes entrenched with
  11 retail sellers and trainers who recommend them to their clients, (2) loss of first mover
  12 advantage that Therabody enjoyed as the first company to offer its innovative
  13 percussive devices and patented attachments, (3) loss of Therabody’s investment in
  14 building up the market for percussive devices, (4) negative effect on its reputation as
  15 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
  16 (6) price erosion due to Defendants’ First Infringing Device being sold at a price point
  17 lower than Therabody’s patented product, (7) diversion of resources to defend against
  18 loss of market share caused by sales of the First Infringing Device, and (8)
  19 Defendants’ unauthorized sales that are enticing others to offer for sale and sell
  20 infringing attachments that leads to additional irreparable harm described above.
  21                223. Defendants’ acts of infringement, including continuing the infringing
  22 activities after receiving notice of Defendants’ direct and indirect infringement, have
  23 been, and continue to be, willful and deliberate and therefore warrant the award of
  24 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
  25 pursuant to 35 U.S.C. § 284.
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   1                                FIFTEENTH CAUSE OF ACTION
   2                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   3                                             ‘D396 Patent
   4                                       (Against All Defendants)
   5                224. Therabody realleges and incorporates by reference all foregoing
   6 paragraphs as if fully set forth herein.
   7                225. At all times herein mentioned the ‘D396 Patent was and is valid and fully
   8 enforceable.
   9                226. Defendants are offering percussive massage devices that infringe the
  10 ‘D396 Patent, including at least the First Infringing Device, as shown above. As
  11 shown below, a side by side comparison of FIG. 2 of Therabody’s ‘D396 Patent and
  12 Defendants’ First Infringing Device quickly reveals that the First Infringing Device
  13 appears substantially the same as Therabody’s ‘D396 Patent to an ordinary observer;
  14 the resemblance is such as to deceive such an observer, inducing him or her to
  15 purchase one supposing it to be the other. Among other things, an ordinary observer
  16 would conclude that the First Infringing Device has a number of the same, or very
  17 similar, features as the design patented in the ‘D396 Patent that contribute to an
  18 overall appearance that is substantially the same, including that both the patented
  19 design and First Infringing Device are (a) triangular shaped, (b) have the same relative
  20 dimensions (e.g., relative lengths of handle portions to one another and the head
  21 portion), (c) have a rounded head portion, and (d) circular medallion on the rounded
  22 head portion, and (e) a key-design extending from the rounded head portion along the
  23 third handle portion:
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   1                227. Defendants have and continue to directly infringe the ‘D396 Patent by
   2 making, using, offering for sale, selling and importing the First Infringing Device in
   3 conjunction with percussive massage devices competitive to Therabody.
   4                228. Defendants’ infringement is based upon literal infringement or
   5 infringement under the doctrine of equivalents, or both.
   6                229. On information and belief, at least since Plaintiff’s August 11, 2021
   7 letter, Defendants have knowingly and actively induced the infringement of one or
   8 more of the ‘D396 Patent claims by, inter alia, marketing, promoting, and offering
   9 for use the First Infringing Device, knowingly and intending that the use of the First
  10 Infringing Device by Defendants’ customers and by users infringes the ‘D396 Patent.
  11 For example, Defendants intend to induce such infringement by, among other things,
  12 promoting users to purchase and use the First Infringing Device knowing that its
  13 purchase and use infringes one or more claims of the ‘D396 Patent.
  14                230. On information and belief, at least since Plaintiff’s August 11, 2021
  15 letter, Defendants have contributed to the infringement of the ‘D396 Patent by, inter
  16 alia, marketing and promoting the First Infringing Device to its customers and users.
  17 The First Infringing Device is not a staple article or commodity of commerce suitable
  18 for substantial non-infringing use and is known by Defendants to be especially made
  19 or especially adapted to the infringe the ‘D396 Patent. As a result, Defendants’ First
  20 Infringing Device has been used by their customers and by users to infringe the ‘D396
  21 Patent. Defendants continue to engage in acts of contributory infringement of the
  22 ‘D396 Patent even after receiving notice of their contributory infringement.
  23                231. At no time has Therabody granted Defendants authorization, license, or
  24 permission to utilize the design claimed in the ‘D396 Patent.
  25                232. Therabody has been damaged by Defendants’ acts of infringement of the
  26 ‘D396 Patent and Therabody will continue to be damaged by such infringement unless
  27 enjoined by this Court. Therabody is entitled to recover damages adequate to
  28 compensate for the infringement under 35 U.S.C. § 284.

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   1                233. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
   2 infringement including the following harm which cannot be quantified or recouped
   3 through monetary damages: (1) lost market share that will be difficult, if not
   4 impossible, to recoup later as the First Infringing Device becomes entrenched with
   5 retail sellers and trainers who recommend them to their clients, (2) loss of first mover
   6 advantage that Therabody enjoyed as the first company to offer its innovative
   7 percussive devices and patented attachments, (3) loss of Therabody’s investment in
   8 building up the market for percussive devices, (4) negative effect on its reputation as
   9 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
  10 (6) price erosion due to Defendants’ First Infringing Device being sold at a price point
  11 lower than Therabody’s patented product, (7) diversion of resources to defend against
  12 loss of market share caused by sales of the First Infringing Device, and (8)
  13 Defendants’ unauthorized sales that are enticing others to offer for sale and sell
  14 infringing attachments that leads to additional irreparable harm described above.
  15                234. Defendants’ acts of infringement, including continuing the infringing
  16 activities after receiving notice of Defendants’ direct and indirect infringement, have
  17 been, and continue to be, willful and deliberate and therefore warrant the award of
  18 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
  19 pursuant to 35 U.S.C. § 284.
  20                                SIXTEENTH CAUSE OF ACTION
  21                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
  22                                             ‘D915 Patent
  23                                       (Against All Defendants)
  24                235. Therabody realleges and incorporates by reference all foregoing
  25 paragraphs as if fully set forth herein.
  26                236. At all times herein mentioned the ‘D915 Patent was and is valid and fully
  27 enforceable.
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   1                237. Defendants are offering percussive massage devices that infringe the
   2 ‘D915 Patent, including at least the First Infringing Device, as shown above. As
   3 shown below, a side by side comparison of FIG. 2 of Therabody’s ‘D915 Patent and
   4 Defendants’ First Infringing Device quickly reveals that the First Infringing Device
   5 appears substantially the same as Therabody’s ‘D915 Patent to an ordinary observer;
   6 the resemblance is such as to deceive such an observer, inducing him or her to
   7 purchase one supposing it to be the other. Among other things, an ordinary observer
   8 would conclude that the First Infringing Device has a number of the same, or very
   9 similar, features as the design patented in the ‘D915 Patent that contribute to an
  10 overall appearance that is substantially the same, including that both the patented
  11 design and First Infringing Device are (a) triangular shaped, (b) have the same relative
  12 dimensions (e.g., relative lengths of handle portions to one another and the head
  13 portion), (c) have a rounded head portion, and (d) circular medallion on the rounded
  14 head portion, and (e) a key-design extending from the rounded head portion along the
  15 third handle portion:
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  23                238. Defendants have and continue to directly infringe the ‘D915 Patent by
  24 making, using, offering for sale, selling and importing the First Infringing Device in
  25 conjunction with percussive massage devices competitive to Therabody.
  26                239. Defendants’ infringement is based upon literal infringement or
  27 infringement under the doctrine of equivalents, or both.
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   1                240. On information and belief, at least since Plaintiff’s August 11, 2021
   2 letter, Defendants have knowingly and actively induced the infringement of one or
   3 more of the ‘D915 Patent claims by, inter alia, marketing, promoting, and offering
   4 for use the First Infringing Device, knowingly and intending that the use of the First
   5 Infringing Device by Defendants’ customers and by users infringes the ‘D915 Patent.
   6 For example, Defendants intend to induce such infringement by, among other things,
   7 promoting users to purchase and use the First Infringing Device knowing that its
   8 purchase and use infringes one or more claims of the ‘D915 Patent.
   9                241. On information and belief, at least since Plaintiff’s August 11, 2021
  10 letter, Defendants have contributed to the infringement of the ‘D915 Patent by, inter
  11 alia, marketing and promoting the First Infringing Device to its customers and users.
  12 The First Infringing Device is not a staple article or commodity of commerce suitable
  13 for substantial non-infringing use and is known by Defendants to be especially made
  14 or especially adapted to the infringe the ‘D915 Patent. As a result, Defendants’ First
  15 Infringing Device has been used by their customers and by users to infringe the ‘D915
  16 Patent. Defendants continue to engage in acts of contributory infringement of the
  17 ‘D915 Patent even after receiving notice of their contributory infringement.
  18                242. At no time has Therabody granted Defendants authorization, license, or
  19 permission to utilize the design claimed in the ‘D915 Patent.
  20                243. Therabody has been damaged by Defendants’ acts of infringement of the
  21 ‘D915 Patent and Therabody will continue to be damaged by such infringement unless
  22 enjoined by this Court. Therabody is entitled to recover damages adequate to
  23 compensate for the infringement under 35 U.S.C. § 284.
  24                244. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
  25 infringement including the following harm which cannot be quantified or recouped
  26 through monetary damages: (1) lost market share that will be difficult, if not
  27 impossible, to recoup later as the First Infringing Device becomes entrenched with
  28 retail sellers and trainers who recommend them to their clients, (2) loss of first mover

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   1 advantage that Therabody enjoyed as the first company to offer its innovative
   2 percussive devices and patented attachments, (3) loss of Therabody’s investment in
   3 building up the market for percussive devices, (4) negative effect on its reputation as
   4 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
   5 (6) price erosion due to Defendants’ First Infringing Device being sold at a price point
   6 lower than Therabody’s patented product, (7) diversion of resources to defend against
   7 loss of market share caused by sales of the First Infringing Device, and (8)
   8 Defendants’ unauthorized sales that are enticing others to offer for sale and sell
   9 infringing attachments that leads to additional irreparable harm described above.
  10                245. Defendants’ acts of infringement, including continuing the infringing
  11 activities after receiving notice of Defendants’ direct and indirect infringement, have
  12 been, and continue to be, willful and deliberate and therefore warrant the award of
  13 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
  14 pursuant to 35 U.S.C. § 284.
  15                              SEVENTEENTH CAUSE OF ACTION
  16                  State Unfair Business Practices, Cal. Bus. & Prof. Code § 17200
  17                                       (Against All Defendants)
  18                246. Therabody realleges and incorporates by reference all foregoing
  19 paragraphs as if fully set forth herein.
  20                247. Defendants’ acts of trademark, trade dress, and patent infringement, false
  21 designation of origin, and unfair competition alleged herein constitute unlawful,
  22 unfair and fraudulent business practices and misleading advertising pursuant to Cal.
  23 Bus. & Prof. Code § 17200.
  24                248. Therabody has been damaged and will continue to be damaged by
  25 Defendants’ unlawful, unfair and fraudulent business practices and misleading
  26 advertising, as described above.
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   1                249. Pursuant to Cal. Bus. & Prof. Code § 17200, Plaintiff is entitled to an
   2 injunction prohibiting Defendants from continuing the practices described above, and
   3 restitution of all amounts acquired by Defendants by means of such wrongful acts.
   4
   5                                      PRAYER FOR RELIEF
   6                WHEREFORE, Therabody prays for judgment as follows:
   7                A.    For an order that, by the acts complained of herein, Defendants have
   8 infringed Therabody’s trademark and trade dress rights, in violation of 15 U.S.C. §§
   9 1114, 1125;
  10                B.    For an order finding that Therabody’s Trademarks and the Triangle
  11 Trade Dress, the Key Trade Dress, and the PRO Trade Dress are valid and protectable
  12 and that, by the acts complained of herein, Defendants have infringed Therabody’s
  13 rights in the Trademarks and the Therabody Trade Dress;
  14                250. For an order temporarily, preliminarily and permanently enjoining
  15 Defendants, and all of their officers, directors, agents, servants, affiliates, employees,
  16 subsidiaries, divisions, branches, parents, attorneys, representatives, privies, and all
  17 others acting in concert or participation with any of them, from using from using
  18 TRAKK PRO and TRAKK ELITE, the Infringing Trade Dress, and any marks or
  19 trade dress confusingly similar to any of Therabody’s Trademarks or any of the
  20 Therabody Trade Dress, including PRO or ELITE, or engaging in further acts of
  21 unfair competition or trademark or trade dress infringement;
  22                C.    For an order finding that the Patents, and each of them, are valid and
  23 enforceable;
  24                D.    For an order finding that Defendants have infringed the Patents directly,
  25 contributorily, and/or by inducement, literally or by equivalents, in violation of 35
  26 U.S.C. § 271;
  27                E.    For an order temporarily, preliminarily and permanently enjoining
  28 Defendants, their officers, directors, agents, servants, affiliates, employees,

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   1 subsidiaries, divisions, branches, parents, attorneys, representatives, privies, and all
   2 others acting in concert or participation with any of them, from infringing the Patents
   3 directly, contributorily and/or by inducement, or otherwise engaging in acts of unfair
   4 competition;
   5                F.   For a judgment directing that any products in the possession, custody or
   6 control of Defendants which infringe any of the Patents, any of the Therabody
   7 Trademarks, and/or any of the Therabody Trade Dress be delivered up and destroyed
   8 within 30 days of entry of judgment;
   9                G.   For a judgment directing Defendants to recall all such infringing
  10 products and any other materials sold, distributed, advertised or marketed which
  11 infringe any of the Patents, any of the Therabody Trademarks, and/or any of the
  12 Therabody Trade Dress;
  13                H.   For an order directing Defendants to file with the Court, and serve upon
  14 Therabody’s counsel, within thirty (30) days after entry of the order of injunction, a
  15 report setting forth the manner and form in which each of them has complied with the
  16 injunction;
  17                I.   For an order that, by the acts complained of herein, Defendants have
  18 infringed Therabody’s common law trademark and trade dress rights and/or engaged
  19 in acts of common law unfair competition against Therabody;
  20                J.   For an order finding that Defendants’ conduct alleged herein was willful
  21 and intentional and in conscious disregard of Therabody’s rights;
  22                K.   For compensatory damages in an amount to be proven at trial, including
  23 disgorgement of profits or gains of any kind made by Defendants from their infringing
  24 acts, lost profits and/or reasonable royalty, in amounts to be fixed by the Court in
  25 accordance with proof, including general, statutory, enhanced, exemplary, treble,
  26 and/or punitive damages, as appropriate;
  27                L.   For treble damages pursuant to 15 U.S.C. § 1117;
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   1                M.   For an accounting and restitution and disgorgement of all payments,
   2 profits, and revenues Defendants obtained as a result of their wrongful conduct, in an
   3 amount to be proven at trial, including pursuant to 15 U.S.C. § 1117;
   4                N.   For an order finding that this is an exceptional case, and awarding
   5 Plaintiff’s reasonable attorney’s fees according to proof;
   6                O.   For an order awarding Therabody its costs of court; and
   7                P.   For such other and further relief as the Court may deem just and proper.
   8
   9 DATED: November 19, 2021 GREGORY S. CORDREY
                              ROD S. BERMAN
  10                          JESSICA BROMALL SPARKMAN
                              JEFFER MANGELS BUTLER & MITCHELL LLP
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  12
                                            By:         /s/ Gregory S. Cordrey
  13                                                         GREGORY S. CORDREY
                                                  Attorneys for Plaintiff Therabody, Inc.
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   1                                    DEMAND FOR JURY TRIAL
   2                Plaintiff demands trial by jury on all issues so triable.
   3
   4 DATED: November 19, 2021 GREGORY S. CORDREY
                              ROD S. BERMAN
   5                          JESSICA BROMALL SPARKMAN
                              JEFFER MANGELS BUTLER & MITCHELL LLP
   6
   7
                                               By:         /s/ Gregory S. Cordrey
   8                                                            GREGORY S. CORDREY
                                                     Attorneys for Plaintiff Therabody, Inc.
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